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                  EXHIBIT E

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1                      UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                        SAN FRANCISCO DIVISION
4


5     WAYMO LLC,                                  )
6                         Plaintiff,              )
7                vs.                              )      Case No.
8     UBER TECHNOLOGIES, INC.,                    ) 3:17-cv-00939-WHA
 9    OTTOMOTTO LLC; OTTO                         )
10    TRUCKING LLC,                               )
11                         Defendants.            )
                                                  )
12
13          HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14
15            VIDEOTAPED DEPOSITION OF SCOTT BOEHMKE
16                      San Francisco, California
17                       Monday, April 17, 2017
18                                 Volume I
19
20
21   Reported by:
22   SUZANNE F. GUDELJ, CSR No. 5111
23   Job No. 2596382
24
25   PAGES 1 - 79

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 1         A   So the proposal was to build a sensor that

2    had

                                         And the requirement

4    in B was to try to maintain those.

 5             If you look at B,

                                             whereas A, I had

 7   liberty to put



 9         Q   Okay. And so you came up with what's here

10   in number -- letter A based on Mr. Levandowski's               02:47:09

11   asking you to prepare this, right?

12         A   I adapted the previous work I had done on

13                              to fit the capabilities that

14   they had.

15         Q   So he was pointing you in one particular             02:47:28

16   direction, which was



                                                         , right?

19         A                  had been agreed upon, and

20   they were looking for a candidate configuration.               02:47:47

21   Yes, I made this configuration.

22         Q     When you said "had been agreed upon,"

23   between yourself and Mr. Levandowski; that's what

24   you're referring to?

25         A   No, this would have been with -- with                02:48:24

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 1       A     Yes.

2        Q     Okay. It's an email that you received in

3    December of 20- -- excuse me, October 2016, right?

4        A     Yes.

 5       Q                                                       02:52:55

6              THE WITNESS: We're -- we're closed book

 7   here, right?

 8             MR. KIM: Do you have a privilege issue --

 9             THE WITNESS: Yeah.

10             MR. KIM: -- that you want to talk about?          02:53:13

11             THE WITNESS: Yeah, I need to understand.

12   BY MR. JAFFE:

13       Q     If it's confidentiality issues, we're under

14   the protective order here. The only thing we can

15   break for is attorney-client issues.                        02:53:21

16       A     No.

17             And what is

18       A



20       Q     I see. So the first email in this chain           02:53:35

21   from Mr. Haslim is talking about transitioning to

22   V2, which is Fuji, right?

23       A     Yes.

24       Q     And it's saying:

25                                                               02:53:52

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 1   actually showing how the PCBs would be laid out?

2        A     Potentially, yes, yeah.

3        Q     And did you talk to your colleagues about

4    this?

5        A     Yes.                                              03:30:28

6        Q     Okay. What did you tell them?

 7       A     Mr. Gasbarro and I started mocking this up.

 8       Q     And have you referenced that in your

 9   declaration?

10       A     In the declaration, no.                           03:30:39

11       Q     Are you aware of any documents attached to

12   your declaration that show that what's described

13   here as                                 actually

14   corresponds to a design for PCBs?

15       A     No, I didn't provide further documents. I         03:30:56

16   was explaining that's what we were doing.

17       Q     Sitting here today, are you aware of any

18   evidence that what's described here on page 51 of

19   your declaration actually corresponds to a design

20   for multiple PCBs on a single diode as opposed to           03:31:10

21   just a conceptual drawing?

22       A     Multiple diodes on a single PCB?

23       Q     Yes. Thank you.

24       A     Yes, there is a layout with multiple diodes

25   on a single PCB.                                            03:31:24

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